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ORIGINAL
                                                     FILED IN OPEN COURT
                   IN THE UNITED STATES DISTRICT COURT U.S.D.C. Atlanta             -



                 FOR THE NORTHERN DISTRICT OF GEORGIA                     SEP 152020
                           ATLANTA DIVISION
                                                                       JAMES   .   H TTEN     erk
                                                                 By:                        puty Clerk


    UNITED STATES OF AMERICA
                                                 Criminal Indictment

                                                 No.     1 20CR351
    JIMMIE ANTHONY “JIM” BEARD



 THE GRAND JURY CHARGES THAT:

                                   COUNTS 1-3

                           (Wire Fraud   —   18 U.S.C. § 1343)
    1. Beginning on a date unknown, but from at least in or about August 2013 to
 in or about March 2018, in the Northern District of Georgia and elsewhere,

 defendant JIMMIE ANTHONY “JIM” BEARD, knowingly devised and intended
 to devise a scheme and artifice to defraud the City of Atlanta, and to obtain money

 and property from the City of Atlanta by means of a materially false and
 fraudulent pretense, representation, and promise, and by an omission of material
 fact, and in furtherance of the scheme caused to be transmitted by means of wire
 communications in interstate commerce, certain signs, signals, pictures, and

 sounds, in violation of Title 18, United States Code, Section 1343.
                                     Background

    At all times relevant to this Indictment:
    2. The City of Atlanta is and was the capital and most populous city in Georgia,
 with a population exceeding 450,000 people. A component of the City of Atlanta

 government was the Department of Finance, whose mission was “to provide
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effective stewardship over public funds and assets and to provide financial
management leadership for city government.”

   3. According to its website, the City of Atlanta’s Department of Finance
“manages and accounts for the City’s financial resources   ...   prepares and monitors
the annual budget, invests city funds to protect assets, maintains fiscal liquidity{,]

  maximizes income” and “[e]stablish[es] and maintain[s] sound fiscal policies.”
The City of Atlanta’s Chief Financial Officer (“CFO”) directed and managed the
Department of Finance.

   4. From approximately November 2011 to May 2018, defendant JIMMIE
ANTHONY “JIM” BEARD served as the CFO of the City of Atlanta. In that
capacity, BEARD listed his “primary responsibility” as “the oversight and

management of the City’s financial condition.” According to the City of Atlanta

and the Atlanta Police Department, because the CFO position was a non-law
enforcement position, BEARD’s role did not require him to carry or use a machine
gun.
                            City of Atlanta Credit Cards

   5. The City of Atlanta participated in a Bank of America Business Credit Card
Program that provided credit cards and “financial support for those City

employees who represented the City of Atlanta in an official capacity.” In general,
the City of Atlanta issued credit cards to its senior executives.

   6. In June 2012, the City of Atlanta issued BEARD a credit card for official City
of Atlanta business-related purchases. Before receiving the credit card, BEARD
signed a user agreement on June 5, 2012, acknowledging the terms and conditions

of its use, including agreeing that:


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      a. the credit card “shall be used for business purposes only;”
      b. “personal charges” on the credit card were “prohibited;”

      c. BEARD was “responsible for maintaining the integrity of the credit card
          account;” and

      d. all expenses should be “documented and supported by physical
          (original) receipts.”

   7. On December 5, 2014, the City of Atlanta Department of Finance          —   which

Beard oversaw      —   issued the City of Atlanta Credit Card Program Policy.
As relevant here, the City of Atlanta imposed terms and conditions on the use of
its credit cards, including that:

      a. “credit card users should use good judgment when using a City credit
          card;”

      b. credit cards were to be used “while traveling and attending conventions
          and training conferences in an official capacity;” and

      c. “usage of the City’s credit card[s] outside of the parameters of this policy
          is prohibited.”
         Financial Disclosure Statements and Travel Disclosure Reports

   8. According to the City of Atlanta’s Code of Ethics § 2-814(a)(1), certain City
of Atlanta officials and employees must disclose all “positions of employment held
by the official or employee in any business   ...   for all or any portion of the year,

including a description of the type of business.”
   9. Based on his position as CFO and director of the Department of Finance, the
City of Atlanta required BEARD to complete annually a Financial Disclosure

Statement. As relevant here, for example:


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    a. On or about March 19, 2014, BEARD completed and electronically signed
        a 2014 Financial Disclosure Statement under the penalty of peijury. On
        the Financial Disclosure Statement, BEARD attested that in 2013 he was

        not “self-employed or employed by any corporation, partnership,
        proprietorship, [or] other business entity      ...   besides the City of Atlanta.”

    b. On or about March 1, 2017, BEARD completed and electronically signed a

        2017 Financial Disclosure Statement under the penalty of peijury. On the
        Financial Disclosure Statement, BEARD attested that in 2016 he was not
        “self-employed       or      employed      by   any      corporation,   partnership,
        proprietorship, [or] other business entity        ...   besides the City of Atlanta”

        and a securities regulatory organization called the Municipal Securities
        Rulemaking Board (“MSRB”).

   10. According to the City of Atlanta’s Code of Ethics §~ 2-801 and 2-815, City of
Atlanta employees may be reimbursed for “travel, meals, and lodging, provided

to an official or employee in connection with speaking engagements, participation
on professional or civic panels, teaching, or attendance at conferences in an official
capacity;”   —   but the officials or employees “[w]ithin 30 days of receipt of
reimbursements     ...   must report such reimbursements on a form [known as a

Travel Disclosure Report]     ...   filed with the municipal clerk with a copy sent by the

official or employee to the ethics officer.”
   11. From 2013 to 2018, BEARD did not file any Travel Disclosure Reports for

any of the travel reimbursements that he received.




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                               City of Atlanta Funds

   12. Abusing the power and authority granted to him as CFO, BEARD devised
and executed a scheme to defraud with an object to obtain money and property

from the City of Atlanta for private use. In particular:
      a. BEARD used City of Atlanta funds to pay for personal travel expenses,
         such as airline tickets, luxury hotels, and limousines, for himself, his

         family, and his travel companion/s;
      b. BEARD used City of Atlanta funds to buy items for personal use,
          including two machine guns;

      c. BEARD used City of Atlanta funds to pay for travel to conferences or
         meetings after which the conference or meeting host reimbursed BEARD

          for the travel, but BEARD kept the money and did not give the
          reimbursement funds to the City of Atlanta; and
      d. BEARD used City of Atlanta funds to pay for travel that BEARD
          subsequently claimed to the Internal Revenue Service (“IRS”) were travel

          expenses related to his sole proprietorship consulting work or were
          unreimbursed employee expenses.
                                  Manner and Means

   13. In total, BEARD defrauded the City of Atlanta out of tens of thousands of
dollars. By way of example only:
      a. On or about November 13 and 22, 2013, BEARD’s City of Atlanta credit
          card was used to pay approximately $542.50 ($479.80 for airfare and

          $62.70 for ground transportation) for BEARD to attend the University of
          Chicago’s 2013 CFO Forum Conference in Chicago, Illinois. After the


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  conference, BEARD signed an expense form that was submitted to the
  University of Chicago, in which BEARD sought reimbursement of

  $542.50 and attested that “I further certify that I have not and will not be
  reimbursed for these expenses from any other source.” Subsequently, the
  University of Chicago issued BEARD a check for $542.50 that BEARD

  cashed. BEARD cashed the check even though: (1) the City of Atlanta

  paid BEARD’s travel expenses for the conference; and (2) BEARD
  claimed in submissions to the IRS that the travel related to his sole
  proprietorship consulting work. BEARD neither disclosed the existence

  of his consulting work to the City of Atlanta on his Financial Disclosure
  Statement, nor did he file a Travel Disclosure Report to notify the City of

  Atlanta about being reimbursed by the University of Chicago.
b. On or about August 4, 2015, BEARD’s City of Atlanta credit card was
  used to pay approximately $1,278.72 for a room at the J.W. Marriott Hotel

  in Chicago, Illinois for a stay from July 31 to August 3, 2015. In listing the
  purpose for the hotel room, BEARD claimed to the City of Atlanta that

  he used the room to attend a “Swap Advisory Engagement.” In fact,
   BEARD was not in Chicago from July 31 to August 3, 2015 (he was in
  Florida), and the hotel room was for BEARD’s stepdaughter so she could
   attended the Lollapalooza music festival. Following BEARD’s false and

   fraudulent statement about the purpose for the charge, the City of
   Atlanta paid the hotel charge.

c. On or about October 7, 2015, and from on or about November 19 to 21,
   2015, BEARD’s City of Atlanta credit card was used to pay


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  approximately $1,191.94 ($754.28 for lodging, $388.20 for airfare, and

  $49.46 for ground transportation) for BEARD to attend the University of
  Chicago’s 2015 CFO Forum Conference in Chicago, Illinois. After
  attending the conference, BEARD signed an expense form that was
  submitted to the University of Chicago, in which BEARD sought

  reimbursement of $1,191.94 in travel expenses and attested that “1 further

  certify that I have not and will not be reimbursed for these expenses from
  any other source.” Subsequently, the University of Chicago issued
  BEARD a check for $1,191.94, which on or about December 31, 2015,

  BEARD deposited into his personal bank account    -   even though the City
  of Atlanta had paid for BEARD’s travel expenses. BEARD did not file a
  Travel Disclosure Report to notify the City of Atlanta that the University

  of Chicago reimbursed BEARD for travel expenses that the City of
  Atlanta had already paid.

d. On or     about December 14,       2015,   BEARD     contacted   firearms
  manufacturer Daniel Defense, Inc. and, on or about December 17, 2015,

  BEARD ordered two custom-built, full-automatic DDM4 rifles. On or
  about March 16, 2016, the machine guns were delivered to Atlanta City
  Hall, after which BEARD in an act that exceeded his authority as CFO
                              -




  —   took personal possession of the machine guns. On or about March 30,

  2016, BEARD had the City of Atlanta issue a $2,641.90 check to Daniel
  Defense, Inc. to pay for the two machine guns. In connection with the

  purchase, BEARD completed and submitted to Daniel Defense, Inc. a
  U.S. Department of the Treasury tax exemption form, in which BEARD


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  falsely certified that the machine guns were for the exclusive use of the
   Atlanta Police Department.

e. On or about April 28, 2016, BEARD’s City of Atlanta credit card was used
   to pay approximately $648.20 for roundtrip airfare from Atlanta to New
   Orleans, Louisiana, for travel on Saturday April 30 to Sunday May 1,

   2016. BEARD’s City of Atlanta credit card was charged for this trip even

   though: (1) the trip occurred over a weekend and BEARD’s City of
   Atlanta work calendar does not list any meetings or appointments in
   New Orleans for April 30 or May 1, 2016; (2) BEARD went to New

   Orleans with a personal travel companion; (3) BEARD and his travel
   companion attended the 2016 New Orleans Jazz and Heritage Festival;

   and (4) BEARD claimed in submissions to the IRS that the New Orleans

   trip was either for travel related to his sole proprietorship consulting
   work or the trip was an expense BEARD incurred as CFO for which the

   City of Atlanta did not pay. BEARD did not disclose the existence of any
   sole proprietorship to the City of Atlanta on his 2017 Financial Disclosure
   Statement.

f. On or about June 22 and 23, 2016, BEARD’s City of Atlanta credit card
   was used to pay approximately $951.20 for airfare (BEARD’s original
   ticket cost $1,252.20) to Washington, D.C. and $24.32 for a taxi, for

   BEARD to meet with the MSRB. After the meeting, BEARD sought
   reimbursement from the MSRB by sending them a $24.32 taxi receipt and

   a $1,252.20 airfare receipt   —   even though BEARD changed flights and his
   ticket actually cost $951.20. Subsequently, the MSRB issued BEARD a


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  check for $1,276.52 ($1,252.20 for airfare and $24.32 for a taxi). On or
  about August 8, 2016, BEARD deposited the check into his personal bank

  account even though: (1) the City of Atlanta paid for his flight and taxi;
           -




  and (2) in submissions to the IRS, BEARD claimed that the cost of the
  flight was related to his sole proprietorship consulting work or the trip
  was an expense BEARD incurred as CFO or a member of the MSRB for

  which neither the City of Atlanta nor the MSRB paid. BEARD did not
   disclose the existence of any sole proprietorship to the City of Atlanta on

  his 2017 Financial Disclosure Statement, nor did he file a Travel
  Disclosure Report to notify the City of Atlanta about being reimbursed
  by the MSRB.

g. On or about July 30 and August 2, 2016, BEARD’s City of Atlanta credit
   card was used to pay a total of approximately $2,599.26 for a stay at the

  J.W. Marriott Hotel in Chicago, Illinois from July 27 to August 1, 2016. In
   fact, BEARD was not in Chicago from July 27 to August 1, 2016 (he was
   in Georgia and South Carolina), and the hotel room was for BEARD’s
   stepdaughter so she could attended the Lollapalooza music festival.

h. On or about December 13, 2016, BEARD’s City of Atlanta credit card was
   used to pay approximately $1,355.68 for a room for two guests at the
   Atlanta St. Regis Hotel, for a stay from December 15 to 17, 2016

   (Thursday to Saturday). During the stay, BEARD’s City of Atlanta card
   was used to pay for additional amenities, including $200 per night for an

   upgraded room, $70 for private dining, and $80 for rose-petal turndown
   service. BEARD used his City of Atlanta credit card to pay for the St.


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          Regis Hotel stay, even though: (1) BEARD lived in Atlanta; (2) BEARD’s
          wife stayed at the hotel with him; (3) BEARD’s City of Atlanta work

          calendar does not list any work events or meetings at the St. Regis Hotel
          from December 15 to 18, 2016; and (4) for Friday, December 17, 2016,
          BEARD’s City of Atlanta work calendar listed the notation “Do Not
          Schedule      —   PTO,” a common initialism for “Paid Time Off.”
                                   Execution of the Scheme

   14. On or about the dates listed in Colunm B, in the Northern District of
Georgia and elsewhere, defendant JIMMIE ANTHONY “JIM” BEARD, for the
purpose of executing and attempting to execute the scheme and artifice to defraud

set forth above, transmitted and caused to be transmitted by means of wire
communications in interstate commerce, certain signs, signals, pictures, and

sounds; that is   —   the electronic transmissions listed in Colunm E:


  A           B                  C             D                          E
 Count       Date              Amount         Entity                 Description
                                             Bank of        Phone payment for room at
   1       9/30/2015           $1,278.12     America        J.W. Marriott in Chicago, IL
                                                             used_during_Lollapalooza
                                           University of          Email for personal
   2       12/9/2015           $1,194.94     Chicago       reimbursement of travel paid
                                                              for_by_the_City_of_Atlanta
   3      12/17/2015           $2,641.90      Daniel         Email regarding purchase
                                           Defense, Inc.    order for two machine guns

   All in violation of Title 18, United States Code, Sections 1343 and 1349.




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                                     COUNT 4

                 (Federal Program Theft    —   18 U.S.C.   § 666(a)(1)(A))
   15. The Grand Jury re-alleges and incorporates by reference the factual
allegations from Paragraphs 1 to 14 of this Indictment as if fully set forth here.
   16. From on or about July 30, 2015 to on or about July 29, 2016, in the Northern

District of Georgia and elsewhere, defendant JIMMIE ANTHONY “JIM” BEARD,
being an agent of the City of Atlanta government, embezzled, stole, obtained by
fraud, knowingly converted, and intentionally misapplied at least $5,000 in money

and property, under the care, custody, and control of the City of Atlanta, a local
government, that in the one-year period listed above received benefits in excess of

$10,000 under a Federal program involving a grant, contract, subsidy, loan,
guarantee, insurance, and other form of Federal assistance; in violation of Title 18,

United States Code, Section 666(a)(1)(A).

                                     COUNT 5

                  (Federal Program Theft   —   18 U.S.C.   § 666(a)ft)(A))
   17. The Grand Jury re-alleges and incorporates by reference the factual
allegations from Paragraphs 1 to 14 of this Indictment as if fully set forth here.

   18. From on or about July 30, 2016 to on or about July 29 2017, in the Northern
District of Georgia and elsewhere, defendant JIMMIE ANTHONY “JIM” BEARD,
being an agent of the City of Atlanta, embezzled, stole, obtained by fraud,

knowingly converted, and intentionally misapplied at least $5,000 in money and
property, under the care, custody, and control of the City of Atlanta, a local
government, that in the one-year period listed above received benefits in excess of

$10,000 under a Federal program involving a grant, contract, subsidy, loan,

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guarantee, insurance, and other form of Federal assistance; in violation of Title 18,
United States Code, Section 666(a)(1)(A).
                                     COUNT 6

                  (Possession of a Machinegun   —   18 U.S.C. § 922(o))
   19. The Grand Jury re-alleges and incorporates by reference the factual
allegations from Paragraphs 1 to 14 of this Indictment as if fully set forth here.

   20. In or about March 2017, in the Northern District of Georgia, defendant
JIMMIE ANTHONY “JIM” BEARD, knowingly possessed and transferred at least

one of the following firearms, each being a machinegun as that term is defined in
Title 18, United States Code, Section 921(a)(23), and Title 26, United States Code,
Section 5845(b), that is: (a) one custom-built, full-automatic Daniel Defense 5.56

millimeter DDM4 rifle, configured as a DD MK18, equipped with a 10.3 inch
barrel; and (b) one custom-built, full-automatic Daniel Defense 5.56 millimeter
DDM4 rifle, configured as a DD M4A1, equipped with a 14.5 inch barrel; in

violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).
                                     COUNT 7

            (False Entry on an Application or Record    —   26 U.S.C.   § 5861(l))
   21. The Grand Jury re-alleges and incorporates by reference the factual
allegations from Paragraphs 1 to 14 of this Indictment as if fully set forth here.
   22. On or about April 14, 2016, in the Northern District of Georgia, defendant

JIMMIE ANTHONY “JIM” BEARD, knowingly made a false entry on an
application and record required by chapter 53 of Title 26, by certifying that any
firearms purchased by the City of Atlanta from Daniel Defense, Inc. (a firearms

manufacturer) from December 17, 2015 to December 31, 2016, were exempt from


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taxation because said firearms were “for the exclusive use of [the] Atlanta Police
Department,” knowing such entry to be false, in that         -   BEARD purchased two
machine guns from Daniel Defense, Inc. for his own use, in violation of Title 26,

United States Code, Sections 5848(b), 5861(1), and 5871.
                                          COUNT 8

                 (Obstructing the Internal Revenue Laws 26 U.S.C.
                                                      -             § 7212(a))
   23. The Grand Jury re-alleges and incorporates by reference the factual
allegations from Paragraphs 1 to 14 of this Indictment as if fully set forth here.
                                         Background

   24. The Internal Revenue Service (“IRS”) was and is an agency of the United

States Department of Treasury responsible for administering the tax laws of the
United States and for the collection of taxes owed to the United States.
   25. In 2013, JIMMIE ANTHONY “JIM” BEARD served as the Chief Financial
Officer for the City of Atlanta, earning a salary of approximately $221,108.

   26. Given BEARD’s executive-level position, the City of Atlanta required

BEARD to file a Financial Disclosure Statement. On or about March 19, 2014,
BEARD completed and electronically signed a 2014 Financial Disclosure Statement
under the penalty of peijury, attesting that in 2013, he was not “self-employed or
employed by any corporation, partnership, proprietorship, [or] other business

entity   ...   besides the City of Atlanta.”
   27. Yet, on or about April 15, 2014, BEARD submitted to the IRS under penalty
of pei.jury a Form 1040 Individual Income Tax Return for tax year 2013, to which

BEARD attached a Schedule C claiming losses from a personal business.




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   a. On the Schedule C, BEARD claimed: (1) that he owned a sole
      proprietorship, with its principal business or profession listed as a

      “Consultant;” (2) that BEARD incurred over $33,500 in alleged business

      losses in 2013; and (3) that his alleged business losses included $12,000 for
       travel expenses and $7,115 for deductible meals and entertainment

       expenses.

   28. In or about July 2015, the IRS advised BEARD that it was auditing his 2013
tax return and requested that BEARD provide documentation to support his

Schedule C business expenses.
   29. In September 2015, December 2015, and April 2016, BEARD responded to

the IRS’s requests for documentation by submitting (or causing to be submitted)
letters, receipts, and expense reports to justify the alleged business expenses
claimed on his 2013 Schedule C.

   30. In his submissions to the IRS, BEARD falsely claimed that he incurred
airfare, hotel, and meal expenses related to his consulting business    —   when in fact

BEARD’s submissions to the IRS included:
   a. Travel receipts for airfare and hotels that BEARD paid for with his City of
       Atlanta credit card;

   b. Expense reports for personal meals, such as with his wife or personal
       companions; and

    c. Altered receipts where BEARD: (1) hid that the actual billing address for

       charges was Atlanta City Hall (as opposed to the address of BEARD’s
       alleged consulting business), and (2) hid that the last four digits of the credit




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       card number used were from BEARD’s City of Atlanta credit card (as
       opposed to BEARD’s personal or business credit card).
                           Obstructing and Impeding

   31. From in or about July 6, 2015 to September 26, 2016, in the Northern District

of Georgia and elsewhere, defendant JIMMIE ANTHONY “JIM” BEARD,
knowing of and reasonably foreseeing the 2013 tax audit described above,

corruptly obstructed and impeded, and corruptly endeavored to obstruct and
impede, the due administration of the internal revenue laws, that is     —   the 2013 tax

audit, by committing and causing to be committed various acts, each such act
having a nexus to the 2013 tax audit including:
    a. On or about September 22, 2015, December 29, 2015, and April 6, 2016,
        BEARD submitted receipts, letters, and expense reports to the IRS to justify

       his alleged Schedule C business expenses, even though: (1) the City of
        Atlanta had paid for certain of the expenses (not BEARD), (2) the expenses

       were personal (not business related), or (3) BEARD had altered the
        receipts.
    b. On or about September 22, 2015 and April 6, 2016, BEARD submitted to

        the IRS airfare and hotel receipts that BEARD claimed were travel
        expenses for “Business Meetings” in New York City in August 2013
        related to his consulting work   —   when in fact: (1) the City of Atlanta paid

        for BEARD’s airfare and hotel; (2) BEARD represented to the City of
        Atlanta that the trip related to Atlanta’s “Water & Wastewater Bonds

        Series 2013A”project; and (3) BEARD altered the hotel receipt submitted
        to the IRS by covering the billing address (which was Atlanta City Hall).


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  BEARD also claimed in his submissions to the IRS that he paid more than

  $325 for a business dinner bill attended by an individual with the initials
  K.A. and allegedly by “Goldman Sachs.” In fact, K.A. and BEARD did not

  have a business relationship, K.A. never attended a dinner with Goldman
  Sachs, and K.A. was a personal companion of BEARD.

c. On or about September 22, 2015 and April 6, 2016, BEARD submitted to
  the IRS airfare and hotel receipts that BEARD claimed were for travel
  expenses for “Business Meetings” in New York City in September 2013,

  related to his consulting work   —   when in fact: (1) the City of Atlanta paid
  for BEARD’s airfare and hotel; (2) BEARD represented to the City of
  Atlanta that the trip related to a “Water/Wastewater Swap Novation

  Session;” and (3) BEARD altered the airfare receipt submitted to the IRS

  by covering the last four digits of the credit card number used (which was
  BEARD’s City of Atlanta credit card).
d. On or about September 22, 2015 and April 6, 2016, BEARD submitted to

  the IRS a flight receipt and hotel/dinner expense report allegedly related
  to BEARD’s consulting business. In his submissions, BEARD claimed the
  receipt and report related to travel expenses for “Business Meetings” in
  New Orleans, Louisiana in September 2013. In fact: (1) BEARD’s trip to

   New Orleans was personal; (2) BEARD traveled to New Orleans with an
   individual with the initials M.A.; (3) BEARD and M.A. did not have a

  business relationship; (4) BEARD paid for MA. to travel to New Orleans;
   and (5) the purpose of the trip was for BEARD and M.A. to attend a
   football game between the Atlanta Falcons and New Orleans Saints.


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     e. On or about March 28, 2016, BEARD falsely advised an IRS auditor that all
        of the expenses listed in the records BEARD provided to the IRS were

        business expenses.
   32. Based on BEARD’s acts and submissions, the IRS allowed BEARD to deduct

$12,000 in business travel expenses.
   All in violation of Title 26, United States Code, Section 7212(a).

                                Forfeiture Provisions

   33. Upon conviction of one or more of the offenses alleged in Counts 1 to 5 of

this Indictment, defendant JIMMIE ANTHONY “JIM” BEARD, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and
Title 28, United States Code, Section 2461(c), any property, real or personal,

constituting or derived from proceeds traceable to the offense, including but not

limited to:
      a. Money Judgment: A sum of money in United States currency equal to
          the amount of proceeds the defendant obtained as a result of the offense
          for which the defendant is convicted.
      b. Firearms:

              i. One full-automatic Daniel Defense 5.56mm DDM4 rifle, configured
                 as a DD MK18, bearing serial number DDM4073808; and
              ii. One full-automatic Daniel Defense 5.56mm DDM4 rifle, configured

                 as a DD M4A1, bearing serial number DDM4073809.

   34. Upon conviction of one or more of the offenses alleged in Count 6 of this
Indictment, defendant JIMMIE ANTHONY “JIM” BEARD, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,

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United States Code, Section 2461(c), any firearms and ammunition involved in the

offense, including: (a) one full-automatic Daniel Defense 5.56mm DDM4 rifle,
configured as a DD MK18, bearing serial number DDM4073808; and (b) one full-
automatic Daniel Defense 5.56mm DDM4 rifle, configured as a DD M4A1, bearing

serial number DDM4073809.
   35. Upon conviction of the offense alleged in Count 7 of this Indictment,

defendant JIMMIE ANTHONY “JIM” BEARD, shall forfeit to the United States,
pursuant to Title 26, United States Code, Section 5872 and Title 28, United States

Code, Section 2461(c), any firearms involved in the offense, including: (a) one full-
automatic Daniel Defense 5.56mm DDM4 rifle, configured as a DD MK18, bearing
serial number DDM4073808; and (b) one full-automatic Daniel Defense 5.56mm

DDM4 rifie, configured as a DD M4A1, bearing serial number DDM4073809.
   36. If, as a result of any act or omission of the defendant, any property subject
to forfeiture:

        a. Cannot be located upon the exercise of due diligence;
        b. Has been transferred or sold to, or deposited with, a third person;
        c. Has been placed beyond the jurisdiction of the Court;

        d. Has been substantially diminished in value; or

        e. Has been commingled with other property which cannot be subdivided
            without difficulty;

the United States intends, pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 28, United States Code, Section 2461(c), to seek forfeiture

of any other property of the defendants up to the value of the forfeitable property




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or seek a money judgment against said defendant for any amount that would
constitute the proceeds of such violation.




                                                                         BILL

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                                                 FOR’ ERSON


 BYUNG   J. PAK
  United States Attorney



JEF    EY W. DAVIS
  Assistant United States Attorney
 Georgia Bar No. 426418



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 TVEVOR C. WILMOT
  Assistant United States Atto
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